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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                10/18/2020
UNITED STATES OF AMERICA,

       -against-                                                 No. 19-CR-857-04 (NSR)

                                                                          ORDER

RAHMEL GARRAWAY,

                              Defendant.



NELSON S. ROMÁN, United States District Judge:

       On October 7, 2020, Defendant Rahmel Garraway filed a letter motion to extend the

Court’s temporary release order, dated September 18, 2020 (ECF No. 130), by 30 days. (See

ECF No. 143.) The Government filed its response on October 15, 2020. (See ECF No. 145.)

       Based on the information provided in the parties’ submissions and at previous hearings,

the Court GRANTS Defendant’s motion. In particular, the Court determines that, in light of the

dire circumstances presented by COVID-19, a thirty-day extension of Defendant’s “temporary

release” to the “custody of” an “appropriate person” is “necessary” for a “compelling reason.”

See 18 U.S.C. § 3142(i).

       The Court continues the bail conditions set by Pretrial Services, which include:

           •   The defendant shall be placed under 24-hour home incarceration at the home of
               Autumn Brown at 2 Lakeview Drive, Apartment D3, Peekskill, New York 10566,
               to be enforced by location monitoring technology determined by Pretrial Services;

           •   When home visits are scheduled by Pretrial Services, to the best of his ability, the
               defendant shall comply with Pretrial Services’ requests to remove all cohabitants
               of the residents prior to the visit;

           •   The defendant must report and disclose to Pretrial Services when any cohabitant
               of the residence, including self, may be symptomatic of any illness;

           •   Travel limited to legal or medical appointments in the Southern and Eastern
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                Districts of New York with Pre-Trial Services’ approval;

            •   $100,000 personal recognizance bond, signed by the defendant and three
                financially responsible persons;

            •   Surrender of all travel documents or passports and no new applications;

            •   Pretrial supervision as directed by Pretrial Services;

            •   The defendant shall not commit a federal, state, or local crime during temporary
                release; and

            •   Any other conditions deemed necessary by Pretrial Services.

Failure to comply with the above conditions shall result in the revocation of this Order.

         This Order shall be effective for a period not to exceed 30 days, at which time the need

for continued release under the “compelling reason” that release was ordered shall be revisited

by the Court. Defendant shall surrender to the Westchester County Jail by 11:00 a.m. on

November 20, 2020, unless the Court finds prior to that date — pursuant to a letter motion

filed by Defendant — that “compelling” reasons still exist to extend the Defendant’s

release.    Should Defendant seek an extension of the release period for good cause, said

application must be made fourteen days prior to the expiration of the 30-day period.

         The Clerk of Court is directed to terminate the motion at ECF No. 143.

Dated:     October 18, 2020                                   SO ORDERED:
           White Plains, New York




                                                 ________________________________
                                                          NELSON S. ROMÁN
                                                        United States District Judge




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